Case 1:19-cr-00019-RDM Document 76 Filed 11/19/21 Page 1 of 38

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

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UNITED STATES OF AMERICA )
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V, ) CRIMINAL CASE NO.: 19er19 (RDM)
)
CHRISTOPHER GREEN )

JOINT ACKNOWLEDGMENT CONCERNING TRIAL EXHIBITS
Counsel acknowledge that they have jointly reviewed the exhibits that were admitted into evidence
with the courtroom deputy and have agreed on what exhibits will be submitted to the jury during deliberations.
Government:

exhibits:

 

 

 

(see aHacheck list)

 

 

 

 

 

 

 

 

 

 

 

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